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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION



UNITED STATES OF AMERICA,               CR 19-35-GF-BMM

              Plaintiff,



     vs.                                            ORDER



DAVID OWEN AWBERRY,

              Defendant.




     The Court conducted a hearing on Defense Counsel’s Motion to Withdraw

on September 23, 2019. (Doc. 115).

     IT IS ORDERED that Katie Ranta’s motion to withdraw as counsel (Doc.

115) is GRANTED.

     DATED this 30th day of September, 2019.
